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                      EXHIBIT B
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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 TOPSTEPTRADER, LLC

                        Plaintiff,                    No. 1:17-cv-4412

        v.                                            Judge Harry D. Leinenweber

 ONEUP TRADER, LLC, and SATTAM                        DECLARATION OF
 ALSABAH,                                             ADAM WOLEK

                        Defendants.


       I, ADAM WOLEK, hereby declare as follows:

       1.      I have personal knowledge of all matter stated herein.

       2.      I am counsel for Plaintiff TopstepTrader, LLC (“Topstep”).

       3.      On October 6, 2017, Topstep filed its Second Amended Complaint, which was

served on Mr. David Wolfsohn and Mr. Christopher Grohman by email.

       4.      During a call on October 11, 2017, between Mr. Wolfsohn and myself, I had

presented an offer to resolve the suit between Topstep and Mr. Alsabah and his company, OneUp

Trader, LLC (“OneUp”). Mr. Wolfsohn indicated that he would pass on Topstep’s offer to Mr.

Alsabah.

       5.      After not receiving a response, nor a reply to two follow up emails about a potential

resolution, I called Mr. Wolfsohn again on November 1, 2017, where he said Mr. Alsabah had

rejected Topstep’s offer.

       6.      At the October 31, 2017 status hearing before this Honorable Court, Mr. David

Wolfsohn indicated he represented both OneUp and Sattam Alsabah.
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         7.     Pursuant to the October 31, 2017 Minute Order, I served an interrogatory on Mr.

Wolfsohn and Mr. Christopher Grohman by email. On November 7, 2017, OneUp served its

Response and Objections to Topstep’s Interrogatory (the “Response”) by email.

         8.     On November 7, 2017, I emailed counsel for OneUp, requesting OneUp provide a

complete answer to the interrogatory. Not reaching resolution via email, I subsequently requested

to meet and confer with counsel regarding defendants’ response.

         9.     Later that day at 4:00 p.m. CST, Mr. Zachary Clark, Ms. Sanna-Rae Taylor and I

participated in a conference call with Ms. Julie Latsko and Mr. Wolfsohn (the “conference call”)

regarding OneUp’s incomplete interrogatory response.

         10.    During the conference call, I asked Mr. Wolfsohn, “Are you representing Sattam

Alsabah?” In response, Mr. Wolfsohn stated, “Yes.”

         11.    Also during the conference call and immediately following the question and answer

detailed in the preceding paragraph in this declaration, I asked Mr. Wolfsohn, “So we cannot

contact Sattam Alsabah because you are representing him?” In response, Mr. Wolfsohn stated,

“Yes.”

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

         Executed on November 9, 2017
                                                     Adam Wolek
                                                     TAFT STETTINIUS & HOLLISTER LLP
                                                     111 E. Wacker Drive, 28th Floor
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